                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE

 JARED STEPHENS,                            )
                                            )
             Plaintiff,                     )
                                            )
 v.                                         )      No.     3:18-CV-157-TAV-HBG
                                            )
 ANTHONY MCGAHA,                            )
 RICHARD DACUS,                             )
 LIEUTENANT MILLER,                         )
 KNOX COUNTY,                               )
 JANE DOE #1, and                           )
 JANE DOE #2,                               )
                                            )
             Defendants.                    )

                                JUDGMENT ORDER

       For the reasons set forth in the memorandum opinion filed herewith:

       1.    The Jane Doe Defendants are DISMISSED;

       2.    Defendants McGaha, Dacus, Miller, and Knox County’s motions to dismiss
             [Docs. 31, 32, 33] are GRANTED;

       3.    This action is DISMISSED;

       4.    Because the Court has CERTIFIED in the memorandum opinion that any
             appeal from this order would not be taken in good faith, should Plaintiff file
             a notice of appeal, he is DENIED leave to appeal in forma pauperis. See 28
             U.S.C. § 1915(a)(3); Fed. R. App. P. 24; and

       5.    The Clerk is DIRECTED to close this case.

       IT IS SO ORDERED.

                                  s/ Thomas A. Varlan
                                  UNITED STATES DISTRICT JUDGE
  ENTERED AS A JUDGMENT
      s/ John L. Medearis
     CLERK OF COURT



Case 3:18-cv-00157-TAV-HBG Document 36 Filed 09/17/20 Page 1 of 1 PageID #: 225
